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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION


TAMMY KOHR, EUGENE STROMAN, and
JANELLE GIBBS, on behalf of themselves and all
others similarly situated, and ROBERT COLTON,

                                 Plaintiffs,     Civil Action No. 17-cv-1473
                    v.

CITY OF HOUSTON,

                                 Defendant.




                     PLAINTIFFS’ OPPOSITION TO
           DEFENDANT’S SECOND AMENDED MOTION TO DISMISS
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                         NATURE AND STAGE OF PROCEEDING

       In April 2017, the City of Houston enacted laws restricting panhandling, living in tents,

and accumulating property in public spaces. The City immediately deployed police officers to

homeless encampments to threaten that enforcement would commence on May 12, 2017.

Plaintiffs, who are each unsheltered homeless people, filed this case on May 12, 2017, seeking

injunctive relief from unconstitutional enforcement of these laws.

       On August 17, 2017, as the City prepared to enforce the tent ban against encampment

residents en masse, Plaintiffs moved for a temporary restraining order enjoining enforcement of

the tent ban. The Court granted a TRO in late August and extended it on consent of both parties

in light of Hurricane Harvey. Following a hearing on October 31, 2017, the Court reversed its

TRO holding and denied a preliminary injunction. From January through August 2018, the

parties repeatedly agreed to stay this case’s deadlines in light of their ongoing mediation.

       Plaintiffs file this brief in opposition to the City’s operative “Second Amended” Motion

to Dismiss (Mot. to Dismiss), ECF No. 24.

                                ISSUES TO BE RULED UPON

       1.      Whether Plaintiffs allege standing to seek injunctive relief from each law at issue.

Plaintiffs allege standing because they allege a “credible threat of enforcement.” Susan B.

Anthony List v. Driehaus, 134 S. Ct. 2334, 2342–43 (2014).

       2.      Whether Plaintiffs have stated a claim that enforcing the tent ban against

unsheltered homeless people would be unconstitutionally cruel. Plaintiffs have stated a claim

because they allege that sheltering in public is an “unavoidable result” of their homelessness.

Jones v. City of Los Angeles, 444 F.3d 1118, 1132–33 (9th Cir. 2006), vacated pursuant to

settlement agreement, 505 F.3d 1006 (9th Cir. 2007).




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       3.      Whether Plaintiffs’ First Amendment claim is barred by the statute of limitations.

Plaintiffs’ First Amendment claim is not barred because their claim results from a continuing

violation. Perez v. Laredo Junior Coll., 706 F.2d 731, 735 (5th Cir. 1983).

       4.      Whether the property ban effects unreasonable seizures in violation of the Fourth

Amendment. The property ban unreasonably interferes with unsheltered homeless people’s

possessory interests by forcing them to abandon their property, and by Defendant’s explicit

threats to seize and destroy their property. United States v. Jacobsen, 466 U.S. 109, 113 (1984).

       5.      Whether the panhandling ban is vague in violation of Due Process. The

panhandling ban is vague because, among other things, the slang term “panhandling” is

undefined, and because it puts “virtually unfettered discretion in the hands of the Houston police.”

Hill v. City of Houston, 789 F.2d 1103, 1110–11 (5th Cir. 1986) (en banc) (citations and

quotation marks omitted).

                                 SUMMARY OF ARGUMENT

       Plaintiffs have adequately alleged that Houston Police officers made “credible threats”—

including dated written warnings—that they would enforce the tent ban against Plaintiffs Tammy

Kohr, Eugene Stroman, and Janelle Gibbs on the day this case was filed. Am. Compl. ¶¶ 52–57,

ECF No. 16. Plaintiffs need not demonstrate that they were cited or arrested prior to filing.

Driehaus, 134 S. Ct. at 2342–43.

       Plaintiffs have adequately alleged that Houston’s emergency homeless shelters are full,

and they have no choice but to be in public. Am. Compl. ¶¶ 8, 17, 27, 60–70. It is cruel to

enforce the tent ban against Plaintiffs, because seeking shelter is an unavoidable consequence of

their homelessness. Jones, 444 F.3d at 1137.

       The panhandling ban unjustificably restricts protected speech that Plaintiffs Tammy Kohr




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and Robert Colton wish to engage in. Their First Amendment claim is not barred because it

results from a continuing violation. Perez, 706 F.2d at 735.

       Unsheltered homeless people have a possessory interest in their property. The property

ban violates the Fourth Amendment by forcing them to abandon their property. Jacobsen, 466

U.S. at 113.

       The panhandling ban restricts “solicitation,” which is defined by reference to

“panhandling,” a term which is itself undefined. A criminal law based on an undefined slang

term like “panhandling” is essentially standardless, and has the potential to encompass such a

broad range of everyday behaviors that it puts “virtually unfettered discretion in the hands of the

[Houston] police.” Hill, 789 F.2d at 1110.

                                         BACKGROUND

I.     Plaintiffs Are Four Unsheltered Homeless Residents of Houston Who, Like Other
       Unsheltered Homeless People, Have Nowhere to Turn

       Plaintiffs Tammy Kohr, Eugene Stroman, Janelle Gibbs, and Robert Colton are each

unsheltered homeless residents of Houston. 1 Am Compl. ¶¶ 6, 16, 25, 36. Each Plaintiff became

homeless involuntarily, and despite their best efforts, they cannot find housing or shelter. Id. ¶¶ 6,

8–9, 16–17, 25, 36. Ms. Kohr, Mr. Stroman, and Ms. Gibbs each live in a tent in a homeless

encampment. Id. ¶¶ 7, 16, 26. Plaintiffs use a tent to serve their basic human need for shelter:

their tents serve as protection from pests, weather, prying eyes, and violence. Id. ¶¶ 7, 16, 26.

       There are more than 1,000 unsheltered homeless people in Harris County, the majority of

1
  Some Plaintiffs are no longer homeless, but they were homeless at the time this action was filed.
Present-tense factual descriptions in this brief refer to the facts as alleged. For ease of reading,
the facts refer to Tammy Kohr as presently homeless, even though she had housing by the time
the Amended Complaint was filed. Am. Compl. ¶¶ 11–12. Because Plaintiffs have filed a class
certification motion, the relation back doctrine “preserve[s] the merits of the case for judicial
resolution.” Cnty. of Riverside v. McLaughlin, 500 U.S. 44, 51–52 (1991).



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whom reside on Houston’s streets. Id. ¶ 58. While these 1,000 people engage in the lengthy and

difficult process of searching for housing, they cannot fit in Houston’s emergency shelters,

which are full beyond capacity and have been so for years. Id. ¶¶ 58, 60–70.

II.      Mayor Turner’s Homelessness Plan Entailed Three Sets of Problematic Laws

         In March 2017, Mayor Sylvester Turner announced a plan for furthering Houston’s

success in reducing homelessness. Id. ¶ 40. His plan included the laws that plaintiffs challenge

here: a law banning “unauthorized use of . . . a tent or other temporary structure for living

accommodation purposes or human habitation” in public (“tent ban”); “unauthorized

accumulation of personal property . . . that would not fit in a container three feet high, three feet

wide, and three feet deep” in public (“property ban”); 2 and a set of laws severely restricting

panhandling (“panhandling ban”). Id. ¶¶ 46–47. The Mayor specified that these laws were

intended to “redirect those in encampments” from their “unacceptable locations,” and to “reduce

and/or eliminate panhandling” with an “aggressive anti-panhandling campaign.” Id. ¶¶ 42, 83.

III.     Houston Police Made Credible Threats of Enforcement Against Plaintiffs

         Immediately after these bans were passed into law, Houston Police Department officers

began threatening everyone in the encampment where Ms. Kohr, Mr. Stroman, and Ms. Gibbs

live. Id. ¶¶ 52–53. The officers delivered written and verbal warnings that residents would be

arrested for violating the tent and property bans if they did not pack up by May 12, 2017. Id. The

officers also informed residents that a dump truck would come to the camp, and residents would

have to choose what belongings to throw into the truck, or officers will do it for them. Id. ¶ 54.

Officers warned Ms. Kohr, Mr. Stroman, and Ms. Gibbs, as well as everyone else in their

2
  While the tent ban and the property ban include some procedural prerequisites for enforcement,
the police have already taken all the steps necessary to clear the way for immediate enforcement
of these laws. Am. Compl. ¶¶ 52, 57 (“Yeah, this is the fine print: this is—this is the warning.”).



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encampment, on multiple occasions. Id. ¶¶ 53–57. Nevertheless, Plaintiffs intend to live in their

tents and keep their bicycles and other bulky property, even if they are arrested. Id. ¶¶ 9, 24, 35.

       Ms. Kohr and Mr. Colton both panhandle in ways prohibited by the panhandling ban:

they panhandle near gas stations, restaurants, and ATMs; they hold signs; they politely persist

after people say “no”; and they step into the road to accept money from stopped cars. Id. ¶¶ 13–

14, 37–38. Ms. Kohr and Mr. Colton are unsure whether holding a sign seeking money, or telling

people why they need money, is legal. Id. ¶¶ 15, 38. Ms. Kohr and Mr. Colton fear that they will

be arrested for panhandling due to increased enforcement efforts under the new anti-panhandling

campaign; they have also been harassed by the police for panhandling in the past. Id.

                                           ARGUMENT

I.     Plaintiffs Have Standing to Seek Protection from the City’s Credible Threats of
       Enforcement

       This Court previously held that Plaintiffs have standing to challenge the tent ban because

“they are subject to a credible threat of being arrested, booked, prosecuted and jailed for

violating the . . . ban.” TRO at 4, ECF No. 39. Although the Court later issued a contrary

decision, Prelim. Inj. Order at 5–6, ECF No. 69, Plaintiffs respectfully request that the Court

maintain its original decision. The City argues that Plaintiffs lack standing because they have not

been convicted under any of the laws they challenge, which is wrong as a matter of law. The

Court’s original standing decision was correct because Plaintiffs were subject to a credible threat

of prosecution at the time of filing. With the benefit of the more robust briefing below, Plaintiffs

urge the Court reinstate its standing ruling from the TRO for three reasons. 3



3
 The City’s standing argument transitions from focusing exclusively on Plaintiffs’ Eighth
Amendment claim to an assertion, in the final two sentences, that Plaintiffs’ entire case must be
dismissed. Mot. to Dismiss at 5. Because the City did not actually brief reasons why Plaintiffs



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       First, requiring a conviction contradicts controlling Supreme Court precedent. Plaintiffs

need not show they have been actually cited, arrested, or convicted to bring a pre-enforcement

constitutional challenge to an ordinance. As the Supreme Court recently explained in Driehaus, a

conviction is not required for standing to challenge the constitutionality of a criminal statute:

       One recurring issue in our cases is determining when the threatened enforcement
       of a law creates an Article III injury. When an individual is subject to such a
       threat, an actual arrest, prosecution, or other enforcement action is not a
       prerequisite to challenging the law. . . . Instead, we have permitted pre-
       enforcement review under circumstances that render the threatened enforcement
       sufficiently imminent.

134 S. Ct. 2334, 2342 (2014).

       The Court’s denial of standing “in reliance on th[e] authority” of Johnson v. City of

Dallas, 61 F.3d 442, 444 (5th Cir. 1995), was misplaced. Prelim. Inj. Order at 5. Johnson was

plainly abrogated by the subsequently-issued Supreme Court decision in Driehaus. The Fifth

Circuit held in Johnson that “a plaintiff who has not been prosecuted under a criminal statute

does not normally have standing,” and on the basis that none of the plaintiffs had been convicted,

declined to hold that the plaintiffs had standing. 61 F.3d at 445.

       Johnson is directly at odds with Driehaus. The Supreme Court could not have been

clearer that conviction, or even citation, is not required for standing. 134 S. Ct. at 2342. This

Court cited Driehaus, but did so only for the general principle that alleged harm must be

sufficiently concrete and imminent. Prelim. Inj. Order at 5. The Court’s decision must account

for the full import of Driehaus—credible threats alone are sufficient for standing. 4


lack standing to bring their other claims, Plaintiffs focus on their standing under the Eighth
Amendment.
4
 The Fifth Circuit has repeatedly specified that “when the Supreme Court expressly or
implicitly overrules one of our precedents, we have the authority and obligation to declare and



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       There can be no question that, applying this standard, Plaintiffs have alleged standing to

challenge the tent ban, the property ban, and the panhandling ban. The Amended Complaint

details multiple written and verbal threats to each named Plaintiff, and other encampment

residents, that these laws would be enforced against them. Am. Compl. ¶¶ 15, 38, 44, 52–55.

These warnings are more than enough to render the threat “sufficiently imminent.” 134 S. Ct. at

2342. Accord TRO at 4 (“The plaintiffs have demonstrated that they are subject to a credible

threat of being arrested . . . for violating the City of Houston’s ban on sheltering in public.”).

       Second, to the extent that Defendant attempts to revive Johnson and carve out Plaintiffs’

claims as an exception to the Driehaus standard, this argument should be rejected by the Court.

Johnson’s reasoning is simply unpersuasive.

       To support its now-abrogated holding that a conviction is a prerequisite for standing to

assert an Eighth Amendment claim, the Johnson court cited two Supreme Court cases: Ingraham

v. Wright, 430 U.S. 651 (1977), and Boyle v. Landry, 401 U.S. 77 (1971). 5 Neither case stands

for that proposition. Ingraham held that the Eighth Amendment is inapplicable to “paddling of

children . . . in public schools,” because it is punishment outside the “criminal process.” 430 U.S.

at 664, 666–68. Boyle concerned a pre-enforcement challenge to a number of Chicago laws that


implement this change in the law.” Stokes v. Southwest Airlines, 887 F.3d 199, 204 (5th Cir.
2018) (quotation marks and citations omitted). Because Driehaus “disavows the mode of
analysis on which [Johnson] relied,” this Court is no longer bound by Johnson, and is instead
bound to follow Driehaus as Supreme Court precedent. Stokes, 887 F.3d at 204; accord Hoskins
v. Bekins Van Lines, 343 F.3d 769, 775 (5th Cir. 2003) (abandoning prior panel analysis in favor
of analysis mandated by the Supreme Court).
5
 The opinion also quoted a prior Fifth Circuit decision that ultimately traces back to Ingraham.
Johnson, 61 F.3d at 444 (quoting Palermo v. Rolex, 806 F.2d 1266 (5th Cir. 1987) (citing
Thibodeaux v. Bordelon, 740 F.2d 329 (5th Cir. 1984) (citing Ingraham)). Both Palermo and
Thibodeaux are irrelevant: like Ingraham, these cases reject Eighth Amendment claims about
punishment outside the criminal process. Palermo, 806 F.2d at 1268 (employee discipline);
Thibodeaux, 740 F.2d at 331 (negligent injury to pretrial detainee).



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police used to intimidate Black residents; the plaintiffs there lacked standing because they failed

to allege that they, specifically, would be targeted for prosecution. 401 U.S. at 80–81.

       Ingraham, in fact, specifically noted that the Eighth Amendment is intended “to limit the

power of those entrusted with the criminal-law power over government,” and “circumscribes the

criminal process” by “impos[ing] substantive limits on what can be made criminal.” Ingraham,

430 U.S. at 664, 666–67. And Boyle ruled the plaintiffs lacked standing because they failed to

show actual injury from “threats or actual prosecutions”—the negative implication being that an

enforcement threat does establish standing. 401 U.S. at 80–81 (“the complaint contains no

mention of any specific threat”). Far from limiting the Eighth Amendment to post-conviction

relief, these precedents authorize courts to “circumscribe the criminal process” based on a “threat”

of unconstitutional enforcement. Ingraham, 430 U.S. at 667; Boyle, 401 U.S. at 80.

       Because the Eighth Amendment “limits the power” of the police and “circumscribes the

criminal process” by limiting “what can be made criminal,” Ingraham, 430 U.S. at 664, 666–67,

federal courts can enforce these limits when the police threaten to transgress them. Relief must

be available “to prevent an injurious act by a public officer” that violates federal law. Armstrong

v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1384 (2015) (citation omitted).

       Multiple courts agree, for reasons best stated by the Eleventh Circuit: “Logically, a

prospective remedy will provide no relief for an injury that is, and likely will remain, entirely in

the past.” Church v. City of Huntsville, 30 F.3d 1332, 1338–39 (11th Cir. 1994) (citations and

quotation marks omitted). On this basis, the court held that a class had standing to “enjoin the

City from arresting, harassing, or removing the plaintiffs because of their homeless status.” Id.

1338–39. “Because injunctions regulate future conduct,” plaintiffs had standing to protect their

Eighth Amendment rights, based on the “substantial likelihood” that police would harass the




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class in the future. Id. at 1337, 1339.

        Likewise, in Jones v. City of Los Angeles, the Ninth Circuit issued an even more robust

ruling, upholding the homeless plaintiff class’s standing and explicitly disavowing Johnson.

Jones reiterated that the Eighth Amendment “governs the criminal law process as a whole, not

only the imposition of punishment postconviction.” 444 F.3d at 1128–29 (citing Ingraham, 430

U.S. at 666, and Robinson v. California, 370 U.S. 660, 666 (1962) (holding that criminalizing a

disease would “doubtless” violate the Eighth Amendment)). The injury inflicted by an

unconstitutional law begins with initiation of the criminal process—at arrest, citation, or even as

the police prepare for enforcement. Id. at 1129 (collecting cases). The court explained that, if

federal courts lacked the power to enjoin infliction of this injury,

        the state could in effect punish individuals in the preconviction stages of the
        criminal law enforcement process for being or doing things that under the [Eighth
        Amendment] cannot be subject to the criminal process. But the [Eighth
        Amendment] limits the state’s ability to criminalize certain behaviors or
        conditions, not merely its ability to convict and then punish post conviction.

Id. Rejecting Johnson, the Ninth Circuit held that “[i]n focusing on this lack of a conviction, the

Fifth Circuit . . . fail[s] to recognize the distinction between the Cruel and Unusual Punishment

Clause’s first two protections and its third,” which is the substantive limit on what can be made

criminal at all. Id. at 1130.

        District courts have reached the same conclusion for the same reasons. Anderson v. City

of Portland, 2009 WL 2386056, at *4 (D. Or. July 31, 2009) (explicitly rejecting Johnson: “I do

not find that Ingraham limits Eighth Amendment challenges to those plaintiffs who have been

convicted of a crime”); Lehr v. City of Sacramento, 624 F. Supp.2d 1218, 1224 (E.D. Cal. 2009)

(“[P]roof of a conviction is not a prerequisite . . . .”); Joyce v. City of San Francisco, 846 F. Supp.

843, 853–54 (N.D. Cal. 1994) (“[T]he City claims the . . . Eighth Amendment [is] limited only to



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those convicted of crimes, [but] this proposition is refuted by the express language of

Ingraham.”) (citations omitted); see Pottinger v. City of Miami, 810 F. Supp. 1551, 1559–60

(S.D. Fla. 1992) (ordering preliminary injunction: “The evidence overwhelmingly shows that

plaintiffs have no place where they can be without facing the threat of arrest.”).

          In short, Johnson was a misguided decision that courts around the country have rejected.

There is no doctrinal reason to revive it.

          Finally, Plaintiffs write to correct the City’s repeated misrepresentations of the Amended

Complaint. The City claims that the Amended Complaint “does not, on its face, show that

[Plaintiffs] were even issued a warning before they filed this case. In fact, they were not warned

under the ordinance until after they filed.” Mot. to Dismiss at 5 (citation omitted). This is false.

To pick just one example, Plaintiffs allege in Paragraph 53:

          Houston Police Department officers . . . told Tammy, Gene, Janelle, and the other
          encampment residents that they would be prosecuted after May 12th if they did
          not stop sheltering themselves . . . . The officers also served Tammy, Gene,
          Janelle, and the other encampment residents with a written threat to enforce the
          camping ban, which read ‘Starting on May 12th, A City of Houston law will
          prohibit encampments in public places in Houston without permission from the
          City.’

The City also claims that the Amended Complaint “do[es] not make any showing that [Plaintiffs]

would refuse to take down a tent.” Mot. to Dismiss at 4–5. Again, this claim is false:

          Tammy intended to keep using her tent for shelter . . . even if the City arrested her
          for violating the camping ban. . . . Gene . . . intends to keep using his tent, . . .
          even if the City prosecutes him for violating the camping ban. . . . Janelle intends
          to keep using her tent to shelter herself . . . even if the City prosecutes her . . . .

Am. Compl. ¶¶ 9, 24, 35. The City should voluntarily strike these misrepresentations and related

discussion 6 from its motion.


6
    Specifically, the final paragraph beginning on page 4 and the first full paragraph on page 5.



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II.     Enforcement of the Tent Ban Against Unsheltered Homeless People Would Be Cruel

        This case poses a narrow question. If a homeless person has nowhere else to go, is it cruel

and unusual under the Eighth Amendment to punish her for taking shelter in a tent?

        This case is not a facial challenge seeking to strike a camping ban altogether. Cf. Tobe

v. City of Santa Ana, 892 P.2d 1145, 1152 (1995) (rejecting facial challenge to camping ban).

This case is not about punishing people who refuse offers of shelter, 7 cf. Joel v. City of

Orlando, 232 F.3d 1353, 1357 (11th Cir. 2000) (rejecting claim by plaintiffs who had access to

shelter); or refuse to vacate public parks, cf. Joyce v. City of San Francisco, 846 F. Supp. 843,

846 (N.D. Cal.1994) (upholding program to end camping in public parks); or choose to camp in

public as a protest, cf. Clark v. Commty. for Creative Non-Violence, 468 U.S. 288, 296 (1984)

(concerning activists seeking to camp on the National Mall). The City’s brief raises each of these

irrelevant questions, and the Court should set them aside.

        There is one narrow question posed by Plaintiffs’ claim: is it cruel to enforce Houston’s

tent ban against homeless people who lack access to other shelter? Enforcing a criminal law is

cruel if it punishes an unavoidable result of homelessness. Because sheltering in public is an

unavoidable result of homelessness, it is cruel to enforce the tent ban against the Plaintiffs.

        Last August, this Court agreed, holding Houston’s tent ban to be unconstitutionally cruel

as applied against the narrow class of people who are “involuntarily in public, harmlessly

attempting to shelter themselves.” TRO at 4. This holding correctly interpreted the Eighth

Amendment standard and the scope of the Plaintiffs’ claim. The Court later reversed its decision,

holding that Plaintiffs’ Eighth Amendment claim failed because the ordinance prohibits “conduct”


7
 Plaintiffs allege that there is no shelter available. Am. Compl. ¶¶ 1–2, 58–70. The Court must
accept that allegation as true.



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by “any person, regardless of whether he or she is homeless.” Prelim. Inj. Order at 7. 8

        Respectfully, the Court’s later ruling misapprehended Plaintiffs’ claim. Plaintiffs do not

contend that the tent ban is facially unconstitutional, or that it is a targeted prohibition. 9 But it is

unconstitutional to enforce the ban against someone whose guilt is an unavoidable result of

homelessness. Pls.’ Mem. in Supp. of TRO at 14, ECF No. 28 (discussing why the tent ban is

unconstitutional “as applied”). As applied to unsheltered homeless people, the tent ban is cruel,

because it punishes their unavoidable attempt to meet a basic human need.

        Plaintiffs incorporate by reference their initial briefing on the Eighth Amendment

standard, Pls.’ Mem. in Supp. of TRO at 7–15; Pls.’ Reply in Supp. of TRO at 3–5, ECF No. 36,

and supplement this briefing below on two points related to the Court’s preliminary injunction

ruling. First, Plaintiffs discuss why it is irrelevant that the tent ban applies to “any person,

regardless of whether he or she is homeless.” Prelim. Inj. Order at 7. Second, Plaintiffs discuss

why it is irrelevant that the ban prohibits “conduct.” Id.

        A.      Plaintiffs Bring an As-Applied Challenge to the Tent Ban’s Enforcement
                Against Unsheltered Homeless People

        There are two basic types of constitutional challenges to a law: challenges to a law on its

face, and challenges to a law as applied. It is critical for a court to “properly define” the scope of

relief sought because “facial and as-applied challenges have different substantive requirements.”

8
  The ruling also noted that the tent ban is a “valid exercise of the City’s discretionary police
power.” Prelim. Inj. Order at 7. Of course, any law that violates the Constitution is by definition
not “valid.” U.S. Const. Art. VI, cl. 2 (“This Constitution . . . shall be the supreme law of the
land; and the judges in every state shall be bound thereby, anything in the Constitution or laws of
any State to the contrary notwithstanding.”); Cooper v. Aaron, 358 U.S. 1, 19 (1958) (discussing
police power: “[S]uch responsibilities, like all other state activity, must be exercised consistently
with federal constitutional requirements as they apply to state action.”).
9
  The Court should disregard the City’s misleading suggestion to the contrary, Mot. to Dismiss at
6 (“This ban was not put in place to target homeless individuals . . . .”). The purpose of the ban is
irrelevant to whether enforcement against Plaintiffs is cruel.



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Catholic Leadership Coalition of Tex. v. Reisman, 764 F.3d 409, 425 (5th Cir. 2014). An as-

applied challenge does not require a plaintiff to show that application of the challenged law is

facially unconstitutional—the law may be constitutional in some or even most applications.

Ayotte v. Planned Parenthood of N. New England, 546 U.S. 320, 329 (2006) (“It is axiomatic

that a statute may be invalid as applied to one state of facts and yet valid as applied to another.”)

(citation omitted). Instead, an as-applied challenge is a narrow claim, requiring only that the

plaintiff show that the law operates unconstitutionally against her because of her “particular

circumstances.” Catholic Leadership Coalition, 764 F.3d at 426.

       Accordingly, to sustain an as-applied challenge, a court need not find that a challenged

law is unfairly written, or strike down the law as a whole. Id. Instead, the Court need only enjoin

application of the law in the “particular circumstances” raised by the plaintiffs. Id.; accord Ayotte,

546 U.S. at 328–29 (“We prefer . . . to enjoin only the unconstitutional applications of a statute

while leaving other applications in force . . . .”). A law need not be “invalidated . . . wholesale”

when “[o]nly a few applications” of the law “would present a constitutional problem.” Id. at 331;

accord Serafine v. Branaman, 810 F.3d 354, 363 (5th Cir. 2016) (declining to entertain facial

challenge “when a narrower remedy will fully protect the litigants.”).

       This distinction is important for laws criminalizing homelessness. It is rare for U.S. cities

to enact laws that facially target homeless people. Eighth Amendment jurisprudence on sleeping

bans and tent bans does not concern facially discriminatory ordinances; these cases are as-

applied challenges to generally applicable laws. 10 The question in these cases is not whether the




10
  E.g., Jones, 444 F.3d at 1123 (“No person shall sit, lie or sleep in or upon any street, sidewalk
or other public way.”); Cobine v. City of Eureka, 250 F. Supp. 3d 423, 428 (N.D. Cal. 2017)
(“[N]o person shall camp in any public of private space or public or private street . . . .”);



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ban facially targets homeless people (none do), or whether the ban is necessarily unconstitutional

in every application (none are). The question is whether, as applied against unsheltered homeless

people, the ban is cruel. These cases have held that the answer is “yes.”

        Here, Plaintiffs challenge application of a law prohibiting “unauthorized use of . . . a tent

or other temporary structure for living accommodation purposes or human habitation” in public,

Hous., Tex. Code §§ 21-61 to -62, which, as the Court correctly noted, restricts “any person,

regardless of whether he or she is homeless.” Prelim. Inj. Order at 7. But it does not follow that

the law is constitutional. Plaintiffs challenge this law as applied to unsheltered homeless people.

The question is not whether the law targets homeless people. The question is whether, given the

Plaintiffs’ “particular circumstances,” applying the law to them is cruel because it punishes the

unavoidable result of their homelessness. Catholic Leadership Coalition, 764 F.3d at 425.

        For the reasons outlined below and in the Plaintiffs’ prior briefing, Pls.’ Mem. in Supp. of

TRO at 7–15; Pls.’ Reply in Supp. of TRO at 3–5, enforcing the tent ban against unsheltered

homeless people punishes the unavoidable results of their homelessness. The Court should

reinstate its TRO holding that it is cruel to enforce the tent ban against Plaintiffs.

        B.      It is Cruel to Punish Conduct that is an Unavoidable Result of Homelessness

        The Court’s ruling also noted that the tent ban criminalizes conduct, rather than

homelessness itself. Prelim. Inj. Order at 7. This observation coincides with the Court’s

discussion of what the ordinance facially “targets,” which, as explained above, is analytically

irrelevant to Plaintiffs’ as-applied claim. Plaintiffs write briefly to clarify that, if the “conduct”

observation played any part in the Court’s analysis, the Court should abandon that approach.



Johnson, 860 F. Supp. 344, 350 n.4 (N.D. Tex. 1994) (“A person commits an offense if he sleeps
or dozes in a street, alley, park, or other public place.”).



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       Plaintiffs previously explained why it does not end the inquiry to say a law facially

prohibits conduct. Pls.’ Mem. in Supp. of TRO at 7–15. To summarize, Robinson v. California,

370 U.S. 660 (1962), is a controlling Supreme Court case that forbid criminalization of narcotic

addiction as unconstitutionally cruel. Robinson’s underlying principle is that it is cruel to punish

a “chronic condition,” or a “continuing offense” that “ continues after it is complete and subjects

the offender to arrest at any time before he reforms.” Id. at 662–63. Based on Robinson alone, it

is cruel to apply the tent ban to an unsheltered homeless person. It is hard to see how a homeless

person could be punished for “use of . . . a tent . . . for living accommodation purposes,”

§ 21-61—essentially, living in a tent—without being punished for the “chronic condition” of

having no other living accommodation, or a “continuing offense” that “subjects the [homeless

person] to arrest any time before he [finds housing].” Robinson, 370 U.S. at 662–63.

       It is inconsistent with the spirit of Robinson to condemn laws criminalizing a “chronic

condition” as cruel, while condoning laws that criminalize the unavoidable conduct caused by

that same condition. This is what a majority of the justices recognized in Powell v. Texas, 392

U.S. 514 (1968). While Powell did not result in a controlling opinion, 11 five justices expressed

agreement with a principle that is critical to this case. Justice White put that principle best in his

concurrence: it makes no sense to “forbid[] criminal conviction for being sick with the flu” (i.e.,

a condition), but permit “punishment for running a fever” (i.e., the unavoidable conduct or result).

Id. at 548 (White, J., concurring in the judgment). Applying Justice White’s concurrence to this

case, a homeless person cannot be punished for performing performing unavoidable acts in

11
  Powell is a critical case that the City hastily mischaracterizes. The City quotes from the
plurality as if it is a binding majority opinion. Mot. to Dismiss at 7. The plurality opinion lacks
precedential value outside its precise facts, because the sole concurrence from Justice White
disagreed with the plurality’s reasoning. Marks v. United States, 430 U.S. 188, 193 (1977). The
reasoning in the Powell plurality is not binding authority.



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public if he has “no place else to go.” Id. at 551; see id. at 570 (Fortas, J., dissenting) (expressing

agreement by four justices for someone who “does not appear in public by his own volition”).

The import of Powell is this: Robinson is not a toothless holding that controls only the way a law

is phrased. Instead, Robinson puts a substantive limit on laws that are cruel in their application.

In some cases, laws facially punishing conduct are cruel, because the law as applied punishes the

unavoidable result of a “chronic condition” like homelessness.

       As Plaintffs have noted, many other courts agree with this analysis. Pls.’ Mem. in Supp.

of TRO at 10–11; Pls. Reply in Supp. of TRO at 4–5. 12 Most significantly, the only Fifth Circuit

case meaningfully interpreting Robinson agreed that its holding imposes limits on what conduct

can be punished. United States v. Flores-Alejo, 531 F. App’x 422, 426 (5th Cir. 2013) (per

curiam). Specifically, the Circuit held that to determine whether a punishment violates the Eighth

Amendment, courts “must” consider whether the punishment concerns conduct that was the

unavoidable result of an involuntary status. Id. (“[W]e must view as a whole the voluntary acts

he committed . . . and his purportedly involuntary act . . . .”). The weight of authority dictates

that, under Robinson, it is cruel to punish conduct that is the unavoidable result of homelessness.

       The remaining elements of Plaintiffs’ Eighth Amendment claim are straightforward.

Seeking shelter is unavoidable conduct because shelter is a basic human need. Helling v.

McKinney, 509 U.S. 25, 32 (1993); Palmer v. Johnson, 193 F.3d 346, 349 (5th Cir. 1999). The

12
  The Supreme Court has applied this principle in the context of sex-based employment
discrimination: employers cannot use facially neutral traits like life expectancy, City of Los
Angeles v. Manhart, 435 U.S. 702, 709–11 (1978), or conformance with gender stereotypes,
Price Waterhouse v. Hopkins, 490 U.S. 228, 250–51 (1989), to discriminate against women.
“[A]ny meaningful regime of antidiscrimination law” must forbid using traits with a
discriminatory impact “as a proxy for sex.” Zarda v. Altitude Express, Inc., 883 F.3d 100, 112
(2d Cir. 2018). This Court should apply the same reasoning. If the government is permitted to
punish conduct that is a proxy for homelessness, the Eighth Amendment will not impose any
“meaningful regime” that puts substantive limits on punishing homelessness itself.



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Amended Complaint establishes that no other shelter is available, and Plaintiffs are involuntarily

in public. Am. Compl. ¶¶ 8, 17, 27, 60–70. Thus, it is an unavoidable result of their

homelessness that Plaintiffs seek shelter in tents or other temporary structures on public property.

Punishing this conduct is cruel and violates the Eighth Amendment. 13

III.     Plaintiffs State a Plausible First Amendment Claim Against the Panhandling Ban

         A.     Enforcing the Panhandling Ban Causes a Continuing Violation

         The Court can easily dispose of the City’s argument that Plaintiffs’ First Amendment

claim is time barred. So long as the City keeps enforcing the ban, it constitutes a continuing

violation 14 of the First Amendment. Perez v. Laredo Junior Coll., 706 F.2d 731, 735 (5th Cir.

1983) (holding that a “continuing unlawful policy or practice” is a continuing violation). 15 This


13
   The Court’s preliminary injunction ruling made a number of findings concerning the intent of
the tent ban, prerequisites for enforcing the tent ban, and the availability of shelter. Prelim. Inj.
Order at 7–9. When making this preliminary ruling, the Court was limited to weighing pre-
discovery evidence presented by the parties. The standard at this stage is different, and the Court
must accept Plaintiffs’ factual alleations as true. As discussed above, the intent of the tent ban is
irrelevant to Plaintiffs’ as-applied Eighth Amendment claim, and the Court must accept as true
Plaintiffs’ allegation that there is no available shelter.
         Respectfully, the Court’s holding that an unsheltered homeless person can temporariliy
avoid enforcement by taking down their tent misses the point. Prelim. Inj. Order at 8. It is
unavoidable that she will need shelter and put her tent back up, thus subjecting her to citation.
§ 21-63(a).The Court’s holding that the tent ban requires officers to “offer [] shelter” before
arrest is also incorrect. Prelim. Inj. Order at 8. An officer is permitted to make an arrest if she is
“not [] able to obtain [] assistance” for the homeless person. § 21-63(c)(3)(a).
14
  Defendants improperly rely on Peter Henderson Oil Co. v. City of Port Arthur, 806 F.2d 1273,
1275 (5th Cir. 1987), which holds that in the regulatory takings context, injury accrues at the
moment at which the ordinance passes. In that context, “it is passage of the ordinance that injures
a property’s value or usefulness,” thereby triggering the accrual date. Lowenberg v. City of
Dallas, 168 S.W.3d 800, 802 (Tex. 2005). No such accrual occurs when an ordinance requires or
prohibits conduct: for those ordinances, the injury accrues the moment at which the ordinance is
enforced against them. See id. Indeed, one of the authorities the City cites, Lavalee v. Listi, 611
F.2d 1129 (5th Cir. 1980), reverses a dismissal based on the continuing violation doctrine.
15
  See also Va. Hosp. Ass’n v. Baliles, 868 F.2d 653, 663 (4th Cir. 1989) (“[C]ontinued
enforcement of an unconstitutional statute cannot be insulated by the statute of limitations.”);
Montin v. Estate of Johnson, 636 F.3d 409, 416 (8th Cir. 2011) (concluding policy inflicted



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is particularly salient in the First Amendment context. See N.Y. Times Co. v. United States, 403

U.S. 713, 714–15 (1971) (Black, J., concurring) (“[E]very moment’s continuance of the

injunctions against these newspapers amounts to a . . . continuing violation of the First

Amendment.”); Nat’l Advertising Co. v. City of Raleigh, 947 F.2d 1158, 1168 (4th Cir. 1991)

(“[I]t is doubtful that an ordinance facially offensive to the First Amendment can be insulated

from challenge by a statutory limitations period . . . .”); 3570 East Foothill Blvd., Inc. v. City of

Pasadena, 912 F. Supp. 1268, 1278 (C.D. Cal. 1996) (holding statute that facially “violates . . .

free speech inflicts a continuing harm. . . .”). 16

        Not only have Plaintiffs alleged that Houston police officers regularly threaten them with

enforcement of the panhandling ban, Am. Compl. ¶¶ 15, 38, they have also alleged that Mayor

Turner held a press conference to announce that the City intends to “reduce and/or eliminate

panhandling” with an “aggressive anti-panhandling campaign.” Id. ¶¶ 42, 83. There can be no

question that, shortly before this case was filed, the City has issued a new and serious threat to

aggressively enforce the panhanding ban and stop them from panhandling altogether. Plaintiffs

have alleged injuries that accrue well within the applicable limitations period.

        B.      The Roadway Provision Violates the Free Speech Clause On Its Face

        The City does not make a First Amendment argument about two main panhandling ban

provisions Plaintiffs challenge. Am. Compl. ¶¶ 89–90 (silencing and buffer provisions). The City


continuing violation because it daily restricted plaintiff’s freedom of movement); Kuhnle Bros.,
Inc. v. Cnty. of Geauga, 103 F.3d 516, 522 (6th Cir. 1997) (“A law that works an ongoing
violation of constitutional rights does not become immunized from legal challenge for all time
merely because no one challenges it within two years of its enactment.”).
16
  Moreover, the City’s argument under Texas Local Government Code § 51.003 concerns a
presumption of validity under state law, which is inapplicable here. Plaintiffs bring claims under
federal law, not state law.




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argues briefly that the roadway provision is constitutional. The roadway provision permits only

authorized City employees to block traffic, and permits them to do so only to solicit donations to

a charitable organization. The law prohibits all other speakers from blocking traffic, and

prohibits all other speech, like panhandling for contributions to an individual. Hous., Tex. Code

§ 40-27(b), (d); Tex. Transp. Code §§ 552.007(c), 552.0071 (a).

       The roadway provision violates the Free Speech Clause on its face. It is a content-based

restriction that cannot withstand strict scrutiny, and it thus “lacks any plainly legitimate sweep.”

United States v. Stevens, 559 U.S. 460, 472 (2010) (citation omitted).

               2.      The Roadway Provision Is a Content-Based Restriction on Protected
                       Expression in a Traditional Public Forum

       Ms. Kohr and Mr. Colton seek to panhandle in violation of the roadway provision. Am.

Compl. ¶¶ 13–14, 37–38. Panhandling is protected expression under the Free Speech Clause. The

Supreme Court has explicitly held that “solicitation of contributions to charity” is protected

expression. Williams-Yulee v. Fla. Bar, 135 S. Ct. 1656, 1664 (2015); see Village of Schaumburg

v. Citizens for a Better Env’t, 444 U.S. 620, 632 (1980). 17 And expression on “public ways and

sidewalks” receives a “special . . . First Amendment protection,” in part because “[t]here, a

listener often encounters speech he might otherwise tune out.” McCullen v. Coakley, 134 S. Ct.

2518, 2528–29 (2014) (alterations and citations omitted).

       As the Supreme Court recently held in Reed v. Town of Gilbert, 135 S. Ct. 2218, 2226–27

(2015), content-based restrictions on protected expression, like panhandling, are almost always


17
  Panhandling, specifically, is protected. Reynolds v. Middleton, 779 F.3d 222, 225 (4th Cir.
2015); Speet v. Schuette, 726 F.3d 867, 875 (6th Cir. 2013); Clatterbuck v. City of Charlottesvile,
708 F.3d 549, 553 (4th Cir. 2013); Gresham v. Peterson, 225 F.3d 899, 904 (7th Cir. 2000);
Smith v. City of Ft. Lauderdale, 177 F.3d 954, 956 (11th Cir. 1999); Loper v. N.Y. City Police
Dep’t, 999 F.2d 699, 704 (2d Cir. 1993).



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unconstitutional. This holds true “regardless of the government’s benign motive . . . or lack of

animus toward . . . the regulated speech.” Id. at 2228. A restriction is content based if “on its face

[it] draws distinctions based on the message a speaker conveys,” if it “cannot be justified without

reference to the content of the regulated speech,” or if it is adopted “because of disagreement

with the message the speech conveys.” Id. at 2227 (alterations and citations omitted).

       Reed has prompted an unprecedented wave of decisions deeming panhandling bans to be

content-based restrictions. Norton v. City of Springfield, 806 F.3d 411, 413 (7th Cir. 2015);

Homeless Helping Homeless, Inc. v. City of Tampa, No 15-cv-1219, 2016 WL 4162882, at *5

(M.D. Fla. Aug. 5, 2016); Thayer v. City of Worcester, 144 F. Supp. 3d 218, 235–37 (D. Mass.

2015); McLaughlin v. City of Lowell, 140 F. Supp. 3d 177, 185–86 (D. Mass. 2015); Browne v.

City of Grand Junction, 136 F. Supp. 3d 1276, 1292–94 (D. Colo. 2015); Champion v.

Commonwealth, 520 S.W.3d 331, 337–38 (Ky. Feb. 16, 2017); City of Lakewood v. Willis, 375

P.3d 1056, 1063 (Wash. 2016) (en banc). One district court put it bluntly: “Post Reed,

municipalities must go back to the drafting board.” Thayer, 144 F. Supp. 3d at 237.

       Houston’s panhandling ban falls squarely within the reasoning invalidating other bans

post-Reed. The roadway provision permits people to block traffic only to solicit contributions to

tax-exempt organizations, but prohibits doing so for any other purpose or to communicate any

other message. 18 E.g. McLaughlin, 140 F. Supp. 3d at 185 (“He could ask passersby to sign a

petition, but not a check.”). Further, the roadway provision compounds this content-based

restriction by permitting only authorized city employees to make such solicitations for charity,


18
  Sections 40-27(b) (prohibiting impeding use of a roadway), 40-27(f) (exempting people
authorized under Texas Transportation Code Section 552.0071(a), which permits authorization
only for government employees, and only to solicit charitable contributions under Section
552.007, which defines “charitable contributions” as contributions to tax-exempt organizations).



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while banning all other speakers from doing so. Citizens United v. Fed. Election Comm’n, 558

U.S. 310, 341 (2010) (“The Government may not . . . deprive the public of the right and privilege

to determine for itself what . . . speakers are worthy of consideration.”). By prohibiting

unauthorized speakers from blocking a roadway to ask for help, or express need by other

communication like “I’m a homeless vet” or “I’m hungry,” the roadway provision “raises the

specter that the Government may effectively drive certain ideas or viewpoints from the

marketplace.” R.A.V. v. City of St. Paul, 505 U.S. 377, 387 (1992).

               3.      The Roadway Provision Fails Strict Scrutiny

        Content-based restrictions like the roadway provision are “presumptively

unconstitutional” and trigger strict scrutiny. Reed, 135 S.Ct. at 2226. The roadway provision fails

strict scrutiny because it is not the least restrictive means of achieving a compelling government

interest. McCullen, 134 S. Ct. at 2530. It does not advance any interest at all. Obstructing a

Highway, Texas Penal Code Section 42.03, already criminalizes the act of rendering passage

down a road or sidewalk “unreasonably inconvenient or hazardous.” A duplicative local

provision, with a carveout for favored speakers and messages, does not advance any legitimate

interest.

        The City’s argument on this point is baffling. The sole interest the City identifies is “the

safety and convenience of people in [] use [of city streets].” Mot. to Dismiss at 9. For this

proposition, the City cites Cox v. Louisiana, 379 U.S. 536 (1965), a case that strongly supports

Plaintiffs’ argument. Cox concerned a Baton Rouge statute that “on its face preclude[d] all street

assemblies and parades,” but the city made exceptions “based on arrangements made with

officials.” 379 U.S. at 555–56 (alterations omitted). Notwithstanding the city’s legitimate interest

in safety on its streets, the Supreme Court held:




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        It is clearly unconstitutional to enable a public official to determine which
        expressions of view will be permitted and which will not or to engage in invidious
        discrimination among persons or groups either by use of a statute providing a
        system of broad discretionary licensing power or, as in this case, the equivalent of
        such a system by selective enforcement of an extremely broad prohibitory statute.

Id. at 557–58. The same holds true here. The City cannot possibly demonstrate that the roadway

provision is the least restrictive means of protecting the “safety and convenience” of people on

the streets and sidewalks. Why is it sufficiently safe if City employees block a road, but no one

else? Why is it sufficiently safe when someone blocks a road to ask for money for a tax-exempt

organization, but not to express any other message? Why aren’t other ordinances sufficient to

protect the City’s interest? The City hasn’t even bothered to make an argument. Simply pointing

to a legitimate government interest is nowhere near the showing required to justify a content-

based restriction. McCullen, 134 S. Ct. at 2530. Plaintiffs have stated a claim that the roadway

provision violates the First Amendment. 19

IV.     The Panhandling Ban is Standardless and Invites Discriminatory Law Enforcement

        In addition to violating the First Amendment, two portions of the panhandling ban are

unconstitutionally vague. A stringent vagueness standard applies to criminal statutes. Women’s

Med. Ctr. v. Bell, 248 F.3d 411, 422 (5th Cir. 2001). Under this heightened standard, a law is

vague if it “(1) fails to provide those targeted by the statute a reasonable opportunity to know

what conduct is prohibited, or (2) is so indefinite that it allows arbitrary and discriminatory

enforcement.” Id. at 421; Hill, 789 F.2d at 1110 (striking law that placed “virtually unfettered

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   Even if the court held the roadway provision to be content-neutral, it would still fail
intermediate scrutiny, which in this context also requires narrow tailoring. McCullen 134 S. Ct.
at 2530. As discussed above, the City has not met its burden to “demonstrate that alternative
measures that burden substantially less speech would fail to achieve the government interests.”
Id. at 2540. Accord Cutting v. City of Portland, 802 F.3d 79, 92–93 (1st Cir. 2015) (invalidating
content-neutral ordinance prohibiting standing in the median); Reynolds v. Middleton, 779 F.3d
222, 232 (4th Cir. 2015) (same); Thayer, 144 F. Supp. 3d at 238 (same).



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discretion in the hands of the Houston police” (internal quotation and alteration marks omitted)).

The panhandling ban fails on both fronts. The ban would be vague in any context, and it falls far

short of the “greater specificity” demanded of laws that restrict protected conduct under the First

Amendment. Kramer v. Price, 712 F.2d 174, 177 (5th Cir. 1983).

       A.      The Panhandling Ban Does Not Give Fair Notice of What Is Illegal

       The panhandling ban, which forbids panhandling in designated public spaces 20 and upon

a “request” to desist, restricts conduct defined as “solicitation.” Hous., Tex. Code § 28-46(a). By

failing to “give ordinary people fair notice of the conduct it punishes,” the ban is

unconstitutionally vague. Johnson v. United States, 135 S. Ct. 2551, 2556 (2015). The ban

provides no clear guidance on what conduct is prohibited as “panhandling” and thus would

subject an individual to criminal penalties. Key terms lack any adequate definition, and are

compounded by additional open-ended terms within each definition, leaving the definitions

virtually boundless. It is impossible for a person to know what ordinary human interactions

would subject them to criminal citation or arrest.

       First, the term “solicitation” is unconstitutionally vague. A wide range of conduct may or

may not fall within this definition:

       Solicitation means the act of panhandling by seeking through a communication
       with another person, whether by gesture or verbally, funds or goods for food,
       personal favors (such as trips, transportation, clothing, or other), drink, lodging,
       vehicle fare, or any other purpose to directly benefit an individual or his family
       members.

§ 28-46(a). The entire definition of “solicitation” is qualified by the slang term “panhandling,”


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   Within eight feet of any “ATM, pay telephone, parking meter, parking fee collection box,
transit facility, fuel dispensing device, or outdoor dining establishment, including, but not limited
to, a sidewalk cafe.” Hous., Tex. Code § 28-46(d).



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but “panhandling” itself is undefined. Nor does the law specify what constitutes a “gesture” and

whether holding a written sign (a common form of “panhandling”) would be prohibited. These

ambiguities are further compounded by invocation of the catchall term “or other”—twice.

       Taken together, terms used within this definition potentially criminalize an outrageously

broad scope of everyday behaviors: stating facts like “I’m thirsty” or “I’m a homeless vet”;

engaging in core political speech like “Houstonians should do something to help people

experiencing homelessness”; discussing a job opening with a potential employer, or a charitable

or business venture with a potential donor; or asking someone for a tissue. The statute lacks any

definition to give people notice about whether any of these are examples of “panhandling.”

       On top of the unclear and wildly broad definition of “solicitation,” the panhandling ban

requires anyone in Houston to stop their “solicitation” and back eight feet away upon “request.”

Hous., Tex. Code § 28-46(b). The definition of “request” is similarly unclear and broad:

       Request means any imperative instruction, whether verbal or non-verbal, by a
       solicitee to a solicitor to desist the solicitation including but not limited to words
       or gestures such as “stop,” “back off,” “stay back,” “get away,” “leave me alone,”
       or “withdraw.”

§ 28-46(a). Neither this definition, nor any other provision in the ordinance, explains what is

meant by a “non-verbal” “imperative instruction . . . to desist.” This definition potentially

entails a broad scope of everyday behaviors—including refusing to make eye contact, breaking

eye contact once made, or putting in headphones—and the law provides no standard to give

people notice of when these ordinary behaviors trigger a duty to back away.

       B.      The Panhandling Ban Grants Virtually Unfettered Discretion to the Police

       While giving the public fair notice of crimes is critical, “the more important aspect of

vagueness doctrine ‘is . . . the requirement that a legislature establish minimal guidelines to

govern law enforcement.’” Kolender v. Lawson, 461 U.S. 352, 358 (1983) (quoting Smith v.


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Goguen, 415 U.S. 566, 574 (1974)). The panhandling ban lacks these minimal guidelines

according to the holding of Papachristou v. City of Jacksonville, 405 U.S. 156 (1972). Striking

down a law that criminalized homelessness by outlawing behaviors like “nightwalking” or

“strolling . . . without lawful purpose,” the Court held that “where the list of crimes is so all-

inclusive and generalized,” it “results in a regime in which the poor and the unpopular are

permitted to stand on a public sidewalk only at the whim of any police officer.” Id. at 166, 170

(citations and alterations omitted). The Court further observed:

       The implicit presumption in these generalized vagrancy standards—that crime is
       being nipped in the bud—is too extravagant to deserve extended treatment. Of
       course, vagrancy statutes are useful to the police. Of course, they are nets making
       easy the roundup of so-called undesirables. But the rule of law implies equality
       and justice in its application. Vagrancy laws of [this] type teach that the scales of
       justice are so tipped that even-handed administration of the law is not possible.

Id. at 171. The exact same can be said of Houston’s panhandling ban. By passing generalized

standards outlawing the everyday behaviors listed above, Houston has subjected homeless

peoples’ interactions with their wealthier neighbors to the whim of the police.

       Cases applying Papachristou are equally relevant and bear mention. In Hill v. City of

Houston, the Fifth Circuit read Papachristou to invalidate a Houston ordinance which prohibited

“opposing, molesting, abusing, or interrupting a policeman” as impermissibly vague, holding

that “[t]he ordinance places virtually ‘unfettered discretion in the hands of the Houston police.’”

789 F.2d at 1110–11 (internal quotation and alteration marks omitted). Given the unclear and

potentially broad scope of conduct the police could arrest people for under the panhandling ban,

the same outcome is required here.

       In Kolender, the Supreme Court read Papachristou to invalidate a statute mandating that

people provide “credible and reliable” identification to an officer upon request, holding that “the




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State fails to establish standards by which the officers may determine whether the suspect has

complied,” leaving too much “potential for arbitrarily suppressing First Amendment liberties[.]”

461 U.S. at 353, 359, 361. The same is true for the undefined term “panhandling” in this case.

       Finally, City of Chicago v. Morales, 527 U.S. 41 (1999), held that Papachristou forbade a

law prohibiting loitering with a gang member “with no apparent purpose,” because the law

employed an inherently subjective standard that invited discriminatory enforcement by the police.

Id. at 61. Again, in this case, determining whether a communication qualifies as “solicitation”

depends on each officer’s interpretation of “panhandling,” a slang term.

       The common theme in these cases requires the same outcome. Guilt must depend on a

predictable and objective standard, not the subjective judgment of a police officer. Houston’s

panhandling ban provides no objective standard by which officers may determine whether a

particular phrase or gesture “seeking funds” is “ panhandling.” Nor does the ban provide a

standard for determining what constitutes a request to “desist.” Under Papachristou and other

controlling authority cited above, the panhandling ban is unconstitutionally vague.

V.     The Property Ban Violates the Fourth Amendment

       The City argues that the property ban does not authorize a seizure of property, and

therefore, does not implicate any Fourth Amendment protections. Mot. to Dismiss at 10. This

claim is inaccurate: the City mischaracterizes the effect of enforcing the property ban. Not only

does the ban authorize citation or arrest for possession of a certain amount of property, thereby

forcing people without storage access to abandon their property: police officers have further

threatened homeless people with the seizure and summary destruction of their property under the

ban. Am. Compl. ¶ 54. This enforcement action is an unreasonable seizure.

       A.      Homeless People Have a Possessory Interest in Their Property




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       Just like everyone else, people experiencing homelessness have a possessory interest in

their property, which entitles them to Fourth Amendment protection. E.g., Soldal v. Cook Cnty.,

506 U.S. 56, 68 (1992) (holding that seizures of property must comply with the Fourth

Amendment). This possessory interest remains intact even when someone brings their

belongings into a public place. Id.; see also Lavan v. City of Los Angeles, 693 F.3d 1022, 1030

(9th Cir. 2012) (holding that the City interfered with homeless individuals’ possessory interests

in their property when it “seiz[ed] and destroy[ed] [their] unabandoned legal papers, shelters, and

personal effects”). The possessory interest remains strong even if the property is criminalized by

statute or ordinance. Id. at 1029 (“Violation of a City ordinance does not vitiate the Fourth

Amendment’s protection of one’s property.”); see also United States v. Paige, 136 F.3d 1012,

1021 (5th Cir. 1998) (citing Soldal, 506 U.S. at 62–63).

       B.      The Property Ban, Both Categorically and in its Threatened Enforcement,
               Interferes With Plaintiffs’ Possessory Interest

       The City is correct that a seizure occurs when there is “some meaningful interference

with an individual’s possessory interests.” Mot. to Dismiss at 10 (quoting United States v.

Jacobsen, 466 U.S. 109, 113 (1984)). This interference is the unavoidable result of the property

ban for unsheltered homeless people in Houston, who “have no place else to store and access

their possessions.” Am. Comp. ¶ 137; see also id. ¶¶ 9, 22, 32. The property ban requires them to

abandon any personal property over the limit imposed by the ordinance. Hous., Tex. Code § 21-

61 (2017); Am. Compl. ¶¶ 22, 32, 138. Such compelled abandonment means that a person cannot

meaningfully exercise her interests in possessing such property. See United States v. England,

971 F.2d 419, 420 (9th Cir. 1992) (“It is the extent of the interference with the [individual’s]

possessory interest in his property, not the physical movement of the property, that determines




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whether a seizure has occurred.”). 21

       But even if the plain text of the ordinance was not enough, Plaintiffs have alleged that

throughout April and May 2017, officers threatened varying and harsh enforcement plans for

these provisions, each of which infringes on Plaintiffs’ possessory interests in their property. For

example, officers told encampment residents: “Residents will be cited if they do not throw away

enough of their possessions. Or: A dump truck will come through camp, and officers will grab

anything that violates the ban and throw it into the dump truck. Or: Residents must choose

property they want to discard and throw it into the dump truck themselves.” Am. Compl. ¶ 54.

       Such interference is meaningful: the impact of such seizures would be devastating to the

the Plaintiffs. Each Plaintiff possesses property that would violate the ordinance’s provisions:

tents, which they use to shelter themselves from weather, pests, prying eyes, and violence, Am.

Compl. ¶¶ 7, 16, 26; bicycles, which they use to travel to housing assistance offices, interviews,

shower facilities, and food-distribution sites, Am. Compl. ¶¶ 10, 22, 33; and food, winter clothes,

and other items, Am. Compl. ¶¶ 10, 22, 32. Without these possessions, Plaintiffs will struggle to

keep themselves safe and access the services they need. E.g., Lavan, 693 F.3d at 1030.

       Both by its own terms and through the enforcement threatened by City officers, the

property ban meaningfully interferes with Plaintiffs’ possessory interests in their property,

thereby subjecting them to a Fourth Amendment seizure.

       C.      Seizure of Property Resulting from the Property Ban Is Unreasonable

       Because the City contends that the property ban does not authorize any seizure, the City

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  Nothing in Fourth Amendment jurisprudence requires more. “The Supreme Court [has] made
clear that the protection afforded by the Fourth Amendment extends to an individual’s
possessory interests in property, even if his expectation of privacy in that property has been
completely extinguished.” See Paige, 136 F.3d at 1021 (citing Sodal, 506 U.S. at 62–63); see
also United States v. Jones, 565 U.S. 400, 406–09 (2012).



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makes no attempt to justify such a seizure, nor could it: the seizure resulting from the ban is

patently unreasonable. “Warrantless searches and seizures are ‘per se unreasonable under the

Fourth Amendment—subject only to a few specifically established and well-delineated

exceptions.’” United States v. Hill, 752 F.3d 1029, 1033 (5th Cir. 2014) (quoting Katz v. United

States, 389 U.S. 347, 357 (1967)). Defendant have not and could not identify any applicable

exceptions to the warrant requirement.

       A closer look at the Plaitniffs’ possessory interests compels the same conclusion. See,

e.g., United States v. Place, 462 U.S. 696, 703 (1983) (weighing the parties’ respective interests

to determine reasonableness in a warrantless seizure context). In these circumstances, Plaintiffs’

interests are at their height. Plaintiffs have alleged deprivation of possessory interests with

serious life consequences. The deprivation includes Plaintiffs’ homes themselves. Am. Compl.

¶¶ 7, 16, 26. The deprivation also includes food, warm clothing, tools used to generate income,

and bicycles that allow them to travel to housing appointments, food donation areas, job

interviews, and shower facilities. Id. ¶¶ 10, 22–23, 32–33; id. ¶ 82 (“By criminalizing possession

of certain property in public, the camping ban effectively prohibits unsheltered homeless people

from possessing that property at all.”). These are the types of possessory interests that courts

weigh most heavily, and which the Fourth Amendment is designed to most carefully protect. E.g.,

United States v. Martinez-Fuerte, 428 U.S. 543, 561 (1976) (reminding that the “sanctity of

private dwellings” are “ordinarily afforded the most stringent Fourth Amendment protection”).

       Conversely, the City’s interest is low. The government has little, if any, interest in

summarily destroying Plaintiffs’ property that could not be achieved by noticing a clean-up date

and allowing Plaintiffs to store and tag belongings. For this reason, courts have repeatedly held

summary destruction of property to be unreasonable. See, e.g., Jacobsen, 466 U.S. at 124 (“[A]




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seizure lawful at its inception can nevertheless violate the Fourth Amendment because its

manner of execution unreasonably infringes possessory interests protected by the Fourth

Amendment’s prohibition on ‘unreasonable seizures.’”); Lavan, 693 F.3d at 1030 (“[E]ven if the

seizure of the property would have been deemed reasonable had the City held it for return to its

owner instead of immediately destroying it, the City’s destruction of the property rendered the

seizure unreasonable.”); San Jose Charter of Hells Angels Motorcycle Club v. City of San Jose,

402 F.3d 962, 977–78 (9th Cir. 2005) (“The Fourth Amendment forbids . . . the destruction of a

person’s property, when that destruction is unnecessary—i.e., when less intrusive, or less

destructive, alternatives exist.”); Ellis v. Clark Cnty. Dep’t of Corr., No. 15-CV-5449, 2016 WL

4945286, at *10 (W.D. Wash. Sept. 16, 2016) (holding that the County violated the Fourth

Amendment when it seized and destroyed the homeless plaintiffs’ property); Smith v. City of

Corvallis, No. 14-CV-1382, 2016 WL 3193190, at *6 (D. Or. June 6, 2016) (finding that the

homeless plaintiffs alleged a violation where the City discarded property immediately after

seizure, and failed to provide sufficient notice or procedural protections to people who were not

aware of the notice); L.A. Catholic Worker v. L.A. Downtown Indus. Bus. Improvement Dist., No.

14-CV-7344, 2015 WL 13649801, at *3–4 (C.D. Cal. Jan. 13, 2015) (holding that seizing

unabandoned property without notice, even when storing it for ninety days after disposing of any

perishable, soiled, or wet items, was unreasonable under the Fourth Amendment). Accordingly,

Plaintiffs have alleged sufficient facts to demonstrate that the seizure is unreasonable and

violative of the Fourth Amendment.

                                         CONCLUSION

       The Court should deny the City’s motion to dismiss. In the alternative, Plaintiffs request

leave to amend their pleading.




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        I certify that this brief will be filed via the Court’s ECF system, which will serve the brief
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